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                               UNITED STATES BANKRUPTCY COURT
                                SOUTHERN DISTRICT OF FLORIDA
                                        MIAMI DIVISION

In re:

BARRY DE VERTEUIL,                                                 Case No. 18-26085-RAM

                                                                   Chapter 7
       Debtor.
________________________/

                              TRUSTEE’S NOTICE OF ABANDONMENT

         COMES NOW, Barry E. Mukamal, as the Chapter 7 Trustee of the case captioned above and does
hereby file his notice pursuant to §554 of the United States Bankruptcy Code and Rule 6007 FRBP that he
intends to abandon the following property of the debtor(s) in that it is burdensome and of inconsequential value
and benefit to the estate:
Real Property located at: 9423 SW 138 Place, Unit 9423, Miami, Florida 33186 as listed on Line 1.1
                         of Schedule “A/B” of the Debtor’s Bankruptcy petition

         Any person objecting to the proposed abandonment shall, within fourteen (14) days from the date of
this notice, file written objection with the Clerk of the United States Bankruptcy Court of the Southern District
of Florida, 301 North Miami Avenue, Room 150, Miami, FL 33128 and serve a copy of this objection on the
Trustee at the address given below.

 Pursuant to Bankruptcy Rule 6007, the proposed abandonment will be deemed approved
 without necessity of a hearing or order, if no objection is filed and served within 14 days
                           after the date of service of this notice.


          I HEREBY CERTIFY that a true and correct copy of the foregoing was served (i) via the
Court’s CM/ECF notification to those parties who are registered CM/ECF participants in this case and/or
(ii) via U.S. Mail to all parties on the attached service list on this April 19, 2019.

                                                        /s/ Barry E. Mukamal
                                                        Barry E. Mukamal, Trustee
                                                        PO Box 14183
                                                        Fort Lauderdale, FL 33302
Label Matrix for local noticing Case 18-26085-RAM       Doc 32 Association,Inc.
                                            Parc Vista Condominium   Filed 04/19/19   Page
                                                                                         U.S.2 Bank
                                                                                               of 3National Association, As Trustee,
113C-1                                      c/o Basulto, Robbins & Associates LLP         6409 Congress Ave., Suite 100
Case 18-26085-RAM                           14160 NW 77th Ct                              Boca Raton, FL 33487-2853
Southern District of Florida                Suite 22
Miami                                       Miami Lakes, FL 33016-1506
Fri Apr 19 11:32:21 EDT 2019
(p)AMERICAN HONDA FINANCE                   Bank Of America                               (p)BANK OF AMERICA
P O BOX 168088                              4909 Savarese Circle                          PO BOX 982238
IRVING TX 75016-8088                        Fl1-908-01-50                                 EL PASO TX 79998-2238
                                            Tampa, FL 33634-2413


Capital One                                  Capital One                                  Chase Bank USA, N.A.
Attn: Bankruptcy                             Po Box 30281                                 c/o Robertson, Anschutz & Schneid, P.L.
Po Box 30285                                 Salt Lake City, UT 84130-0281                6409 Congress Avenue, Suite 100
Salt Lake City, UT 84130-0285                                                             Boca Raton, FL 33487-2853


Chase Card Services                          Chase Card Services                          Checksystems
Correspondence Dept                          P.o. Box 15298                               7805 Hudson Rd
Po Box 15298                                 Wilmington, DE 19850-5298                    Saint Paul, MN 55125-1703
Wilmington, DE 19850-5298


Child Support Enforcemment                   Citibank/The Home Depot                      Citimortgage
PO Box 8030                                  Po Box 6497                                  Attn: Centralized Bankruptcy
Tallahassee, FL 32314-8030                   Sioux Falls, SD 57117-6497                   Po Box 9438
                                                                                          Gettsburg, MD 20898-9438


Citimortgage                                 (p)INTERNAL REVENUE SERVICE                  Ditech
Po Box 6243                                  CENTRALIZED INSOLVENCY OPERATIONS            Attn: Bankruptcy
Sioux Falls, SD 57117-6243                   PO BOX 7346                                  Po Box 6172
                                             PHILADELPHIA PA 19101-7346                   Rapid City, SD 57709-6172


Ditech                                       Equifax                                      Experian
Po Box 6172                                  Po Box 740241                                Po Box 2002
Rapid City, SD 57709-6172                    Atlanta, GA 30374-0241                       Allen, TX 75013-2002



Florida Department Of Revenue                IRS Centralized Bankruptcy Department        LendingClub
5050 W Tennessee St                          PO Box 7346                                  71 Stevenson
Tallahassee, FL 32399-0100                   Philadelphia, PA 19101-7346                  San Francisco, CA 94105-2965



LendingClub                                  Mr. Cooper                                   Mr. Cooper
Attn: Bankruptcy                             350 Highland                                 Attn: Bankruptcy
71 Stevenson St, Ste 1000                    Houston, TX 77009-6623                       8950 Cypress Waters Blvd
San Francisco, CA 94105-2967                                                              Coppell, TX 75019-4620


                                             Opploans/finwise                             Parc Vista Condominium Assoc, Inc.
                                             11 E. Adams                                  c/o Mirza Basulto & Robbins, LLP
                                             Chicago, IL 60603-6301                       14160 NW 77th Court, Ste 22
                                                                                          Hialeah, FL 33016-1506
Synchrony Bank/ Old Navy   Case 18-26085-RAM       Doc
                                       Synchrony Bank/ Old32
                                                           Navy Filed 04/19/19   Page  3 of 3Bank/BRMart
                                                                                    Synchrony
Attn: Bankruptcy Dept                     Po Box 965005                              Attn: Bankruptcy
Po Box 965060                             Orlando, FL 32896-5005                     Po Box 965004
Orlando, FL 32896-5060                                                               Orlando, FL 32896-5004


Synchrony Bank/BRMart                     Transunion                                 Barry De Verteuil
C/o Po Box 965036                         Po Box 1000                                9437 SW 146th Place
Orlando, FL 32896-0001                    Chester, PA 19016-1000                     Miami, FL 33186-1070
